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 1    Jeff Silvestri (NSBN 5779)
      Rory T. Kay (NSBN 12416)
 2    McDONALD CARANO LLP
      2300 W. Sahara Ave, Suite 1200
 3    Las Vegas, NV 89102
      Telephone: 702.873.4100
 4    Fax: 702.873.9966
      jsilvestri@mcdonaldcarano.com
 5    rkay@mcdonaldcarano.com

 6    Attorney for Defendant American Gaming
      Association
 7
                                 UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA

 9     ERIC EHMANN,                                  CASE NO.: 2:19-cv-01199-APG-BNW

10                           Plaintiff,

11            vs.
                                                    DEFENDANT AMERICAN GAMING
12     DESERT PALACE, LLC, a Domestic               ASSOCIATION’S JOINDER TO
       Corporation, PARIS LAS VEGAS                 CAESARS DEFENDANTS’ REPLY IN
13     OPERATING COMPANY, LLC, a                    SUPPORT OF MOTION TO DISMISS;
       Domestic Corporation, CAESARS
14     ENTERPRISE SERVICES, LLC, a                  AND
       Foreign Corporation, CPLV
15     MANAGER, LLC, a Foreign                      REPLY IN SUPPORT OF
       Corporation, CEOC, LLC, a Foreign            SUPPLEMENTAL MOTION TO DISMISS
16     Corporation, CAESARS                         SECOND AMENDED COMPLAINT
       ENTERTAINMENT CORPORATION,
17     a Foreign Corporation, CAESARS
       RESORT COLLECTION, LLC, a
18     Foreign Corporation, and AMERICAN
       GAMING ASSOCIATION, a Foreign
19     Corporation,

20                           Defendants.

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22           In opposing AGA’s Motion to Dismiss, Plaintiff Eric Ehmann (“Ehmann”) cites a lone

23    case involving mail fraud under 18 U.S.C. § 1341 but otherwise provides no case law addressing

24    the arguments in AGA’s Motion. Specifically, AGA, while joining the Caesars Defendants’

25    Motion, argued that Ehmann had not pleaded several essential elements of his fraud-based claims

26    in the Second Amended Complaint (“SAC”), including a false statement by AGA, reliance upon

27    the same, proximate causation, and any duty or relationship between Ehmann and AGA that would

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 1    require the disclosures Ehmann seeks regarding the gaming industry. See Motion at 4:11-7:9

 2    (ECF No. 26).

 3           Ehmann does not rebut these arguments. Instead, he directs the Court to his proposed

 4    Third Amended Complaint (“TAC”) and several purportedly new allegations therein.                See

 5    Opposition at ¶¶ 4-12 (each referencing allegations in the TAC) (ECF No. 34). He provides no

 6    citations to his SAC, which is the target of AGA’s Motion. See generally id. In failing to address

 7    the SAC, Ehmann offers no defense of his SAC and therefore concedes under Local Rule 7-2(d)

 8    that the Court can grant AGA’s Motion because the SAC is defective. See LR 7-2(d) (“The failure

 9    of an opposing party to file points and authorities in response to any motion . . . constitutes a

10    consent to the granting of the same.”).1

11           And even if the Court treats Ehmann’s Opposition as focusing on the SAC, it still fails to

12    rebut any of the arguments AGA raised in its Motion. First, AGA argued that Ehmann did not

13    satisfactorily plead a false statement of fact by AGA upon which he relied in gaming at the Caesars

14    Defendants’ properties. See Motion at 4:11-6:9 (ECF No. 26). Ehmann’s Opposition does not

15    identify any specific statement of fact in the SAC, why it is false, or how he relied upon the same.

16    See Opposition at ¶¶ 6-9 (ECF No. 34). On the contrary, Ehmann takes issue with AGA’s

17    statements of opinion on AGA’s website and from its executives regarding consumer protections,

18    fairness, transparency, and the identification of problem gamblers. See id. But statements of

19    opinion are not actionable in fraud, and so they do not provide Ehmann with a legal basis to

20    maintain his SAC. See Sierra Diesel Injection Serv. v. Burroughs Corp. Inc., 651 F. Supp. 1371,

21    1377 (D. Nev. 1987) (explaining “statements of opinion are not actionable as fraud”). Ehmann

22    has not pleaded a false statement of fact by AGA upon which he relied, and so the Court can grant

23    AGA’s Motion.

24           Second, though AGA argued it had no duty of disclosure to Ehmann regarding the gaming

25    industry because the parties had no relationship, Ehmann does not mention duty once in his

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              AGA will not argue the TAC’s merits as Ehmann wishes to do because that is addressed
28    in separate briefing on Ehmann’s Motion for Leave to File Third Amended Complaint.


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 1    Opposition. See generally Opposition (ECF No. 34). Ehmann does not claim in his Opposition

 2    that he is a customer or member of AGA, that he frequented a gaming establishment operated by

 3    AGA, or even that AGA offers any goods or services to the public in Nevada. See generally id.

 4    Ehmann offers no other facts showing any relationship between himself and AGA that would

 5    create a duty to disclose information about the gaming industry. See generally id. Thus, while

 6    Ehmann may wish such a duty existed, he provides no case law or statute supporting the same,

 7    and the Court is not free to impose a duty in the absence of such legal authority. See Nevada

 8    Power Co. v. Monsanto Co., 891 F. Supp. 1406, 1417 (D. Nev. 1995) (“It is axiomatic that an

 9    individual may only be subject to liability for nondisclosure when he is under a duty to the other

10    to exercise reasonable care to disclose the matter in question.”); see also Reno Technology Ctr. 1,

11    LLC v. New Cingular Wireless PCS, LLC, 2019 WL 507461 (D. Nev. Feb. 7, 2019).

12           Third, as did the Caesars Defendants, AGA contended Ehmann’s SAC did not reveal a

13    nexus between AGA’s purported fraudulent acts and Ehmann’s damages satisfying the proximate

14    causation element. See Motion at 7:1-9 (ECF No. 26). In his Opposition, Ehmann does not

15    address this point and instead attempts to collapse the distinction between the Caesars Defendants

16    and AGA to suggest that the alleged acts of the Caesars Defendants are those of AGA. See

17    Opposition at ¶ 12 (claiming AGA is “complicit in Caesars’ fraudulent acts”) (ECF No. 34). There

18    is no legal support for Ehmann’s position. Even worse, the Caesars Defendants have correctly

19    pointed out that their alleged acts did not proximately cause any harm to Ehmann. See Caesars

20    Defendants’ Motion to Dismiss at 15:8-17:27 (ECF No. 24). As such, even if Ehmann could

21    collapse the distinction between the Caesars Defendants and AGA, he has not alleged any

22    proximate causation by any of the Defendants in his SAC. Nor does his Opposition cure this flaw.

23           Finally, Ehmann has not rebutted AGA’s argument that his state law cause of action is

24    legally defective. See AGA’s Motion to Dismiss at 7:11-8:3 (ECF No. 26). In his Opposition,

25    Ehmann clarifies that he is invoking NRS 205.377, NRS 598.0915, and NRS 41.600 to provide

26    the bases for his first cause of action. See Opposition at 5 (ECF No. 34). But this does nothing to

27    cure the defects, as Ehmann cannot rely upon any of these statutes to assert a claim against AGA.

28    NRS 205.377 is a criminal statute and does not provide for civil liability. See Caesars Defendants’


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 1    Motion at 20:22-21:7 (ECF No. 24). NRS 598.0915 falls within Nevada’s Deceptive Trade

 2    Practices Act, which covers transactions between businesses supplying goods or services and

 3    customers purchasing the same. See AGA’s Motion to Dismiss at 7:23-8:3 (ECF No. 26). But

 4    Ehmann has not alleged that AGA provides any good or service in Nevada to the public, nor that

 5    he was a customer or member of AGA. See generally SAC. Thus, the Deceptive Trade Practices

 6    Act has no application to AGA. Finally, NRS 41.600 permits a private cause of action for any

 7    person “who is a victim of consumer fraud,” but the predicate “consumer fraud” is an act that

 8    violates the Nevada Deceptive Trade Practices Act. NRS 41.600(1)-(2). Because AGA is not

 9    liable under the Deceptive Trade Practices Act, NRS 41.600 does not provide a cause of action

10    for Ehmann against AGA.

11           Consequently, though Ehmann has filed three pleadings with the Court and now his current

12    Opposition, he has been unable to cure any of the pleading defects. Several essential legal

13    elements of his causes of action are incomplete, and so he has failed to state a claim under FRCP

14    12. AGA therefore respectfully requests that the Court grant its Motion and dismiss Ehmann’s

15    SAC with prejudice.

16           Dated this 1st day of November, 2019.

17                                                   McDONALD CARANO LLP

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                                                     By: /s/ Rory T. Kay
19                                                      Jeff Silvestri (NSBN 5779)
                                                        Rory T. Kay (NSBN 12416)
20                                                      McDONALD CARANO LLP
                                                        2300 W. Sahara Ave, Suite 1200
21                                                      Las Vegas, NV 89102

22                                                      Attorney for Defendant American Gaming
                                                        Association
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 1                                    CERTIFICATE OF SERVICE

 2           I HEREBY CERTIFY that I am an employee of McDonald Carano LLP, and that on the

 3    1st day of November, 2019, a true and correct copy of the foregoing DEFENDANT AMERICAN

 4    GAMING ASSOCIATION’S JOINDER TO CAESARS DEFENDANTS’ REPLY IN

 5    SUPPORT       OF    MOTION        TO    DISMISS;         AND   REPLY     IN    SUPPORT       OF

 6    SUPPLEMENTAL MOTION TO DISMISS SECOND AMENDED COMPLAINT was

 7    electronically filed with the Clerk of the Court by using CM/ECF service which will provide

 8    copies to all counsel of record registered to receive CM/ECF notification and also was served via

 9    U.S. Mail, postage prepaid, to the following:

10    Eric Ehmann
      P.O. Box 2366
11    Appleton, WI 54912
      (Pro Se Plaintiff)
12

13

14                                                        /s/ CaraMia Gerard
                                                          An employee of McDonald Carano LLP
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